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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                               COMPLAINT
MELVIN DEAS, on behalf of himself, individually,
and on behalf of all others similarly-situated,
                                                               Docket No.:
                         Plaintiff,
                                                               JURY TRIAL DEMANDED
         -against-

ALBA CARTING & DEMOLITION INC., and
ANDREW HORAN, individually,

                         Defendants.


       Plaintiff MELVIN DEAS (“Plaintiff”), on behalf of himself, individually, and on behalf

of all others similarly-situated, (collectively as “FLSA Plaintiffs” and/or “Rule 23 Plaintiffs”), by

and through his attorneys, Borrelli and Associates, P.L.L.C., as and for his Complaint against

ALBA CARTING & DEMOLITION INC. (“Alba”), and ANDREW HORAN (“Horan”),

individually, (both, collectively, as “Defendants”), alleges upon knowledge as to himself and his

own actions and upon information and belief as to all other matters as follows:

                                       NATURE OF CASE

       1.       This is a civil action for damages and equitable relief based upon Defendants’

violations of Plaintiff’s rights guaranteed to him by: (i) the overtime provisions of the Fair Labor

Standards Act (“FLSA”), 29 U.S.C. § 207(a); (ii) the overtime provisions of the New York

Labor Law (“NYLL”), NYLL § 160; N.Y. Comp. Codes R. & Regs. (“NYCCRR”) tit. 12, § 142-

2.2; (iii) the NYLL’s requirement that employers furnish employees with wage statements on

each payday containing specific categories of accurate information, NYLL § 195(3); (iv) the

NYLL’s requirement that employers furnish employees with a wage notice at hire containing



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specific categories of accurate information, NYLL § 195(1); and (v) any other claim(s) that can

be inferred from the facts set forth herein.

       2.       Plaintiff worked for Defendants - - a corporation that provides demolition services

and its Chief Executive Officer - - as a laborer from in or around June 2014 to December 2016.

As described below, throughout his employment, Defendants willfully failed to pay Plaintiff the

wages lawfully due to him under the FLSA and NYLL, in that Defendants required Plaintiff to

routinely work more than forty hours per workweek, but intentionally failed to compensate him

at the rate of time and one-half his straight-time rate for each hour that he worked per week in

excess of forty, and simply paid him straight-time for all hours worked.

       3.       Defendants also failed to provide Plaintiff with accurate wage statements on each

payday or with an accurate wage notice at the time of hire, as the NYLL requires.

       4.       Defendants paid and treated all of their laborers in the same manner.

       5.       Accordingly, Plaintiff brings this lawsuit against Defendants pursuant to the

collective action provisions of the FLSA, 29 U.S.C. § 216(b), on behalf of himself, individually,

and on behalf of all other persons similarly-situated during the applicable FLSA limitations

period who suffered damages as a result of Defendants’ violations of the FLSA. Plaintiff brings

his claims under the NYLL on behalf of himself, individually, and on behalf of any FLSA

Plaintiff, as that term is defined below, who opts-in to this action.

       6.       Plaintiff also brings this lawsuit as a class action pursuant to Federal Rule of Civil

Procedure (“FRCP”) 23, on behalf of himself, individually, and on behalf of all other persons

similarly-situated during the applicable NYLL limitations period who suffered damages as a

result of Defendants’ violations of the NYLL.




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                                  JURISDICTION AND VENUE

         7.       The jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331, as this

action arises under 29 U.S.C. § 201, et seq. The supplemental jurisdiction of the Court is

invoked pursuant to 28 U.S.C. § 1367 over all claims arising under New York Law.

         8.       Venue is appropriate in this Court pursuant to 28 U.S.C. § 1391(b)(1), as one or

more of the Defendants reside within this judicial district and all reside within the same state,

and pursuant to 28 U.S.C. § 1391(b)(2), as a substantial part of the events or omissions giving

rise to the claims for relief occurred within this judicial district.

                                               PARTIES

         9.       At all relevant times herein, Plaintiff worked for Defendants in New York and

was an “employee” entitled to protection as defined by the FLSA, NYLL, and NYCCRR.

         10.      At all relevant times herein, Defendant Alba was and is a New York corporation

with its principal place of business located at 402 West 46th Street, New York, New York

10036.

         11.      At all relevant times, Defendant Horan was and is the owner and the Chief

Executive Officer of Defendant Alba. In that capacity, Defendant Horan personally managed

and oversaw the day-to-day operations of Alba and was ultimately responsible for all matters

with respect to determining employees’ rates and methods of pay and hours worked.

Furthermore, Defendant Horan had the power to hire and fire and approve all personnel

decisions with respect to Defendant Alba’s employees, including Plaintiff and FLSA Plaintiffs.

Indeed, Defendant Horan hired Plaintiff.

         12.      At all relevant times herein, Defendants were and are “employers” within the

meaning of the FLSA and NYLL. Additionally, Defendant Alba’s qualifying annual business



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exceeded and exceeds $500,000.00, and Defendant Alba was and is engaged in interstate

commerce within the meaning of the FLSA as it used and uses tools and equipment, such as

tractors, freights, excavators, jack hammers, saws, and drills, in the course of its business that

originated in states other than New York.

                         COLLECTIVE ACTION ALLEGATIONS

       13.     Plaintiff seeks to bring this suit to recover from Defendants unpaid overtime

compensation and liquidated damages pursuant to the applicable provisions of the FLSA, 29

U.S.C. § 216(b), individually, on his own behalf, as well as on behalf of those in the following

collective:

               Current and former employees of Defendants, who during the
               applicable FLSA limitations period, performed any work for
               Defendants as a laborer, and who consent to file a claim to recover
               damages for overtime compensation that is legally due to them
               (“FLSA Plaintiffs”).

       14.     Defendants treated Plaintiff and FLSA Plaintiffs similarly in that Plaintiff and

FLSA Plaintiffs: (1) performed similar tasks, as described in the “Background Facts” section

below; (2) were subject to the same laws and regulations; (3) were paid in the same or similar

manner; (4) were required to work in excess of forty hours in a workweek; and (5) were not paid

the required one and one-half times their respective regular rates of pay for all hours worked per

workweek in excess of forty.

       15.     At all relevant times, Defendants are and have been aware of the requirements to

pay Plaintiff and FLSA Plaintiffs at an amount equal to the rate of one and one-half times their

respective regular rates of pay for all hours worked each workweek above forty, yet they

purposefully and willfully chose and choose not to do so.




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       16.     Thus, Plaintiff and FLSA Plaintiffs are victims of Defendants’ pervasive practice

of willfully refusing to pay their employees overtime compensation for all hours worked per

workweek above forty, in violation of the FLSA.

                              RULE 23 CLASS ALLEGATIONS

       17.     In addition, Plaintiff seeks to maintain this action as a class action pursuant to

FRCP 23(b)(3), on behalf of himself, individually, as well as on behalf of all those who are

similarly-situated whom Defendants subjected to violations of the NYLL and the NYCCRR

during the applicable statutory period.

       18.     Under FRCP 23(b)(3), a plaintiff must plead that:

               a.      The class is so numerous that joinder is impracticable;

               b.      There are questions of law or fact common to the class that predominate

               over any individual questions of law or fact;

               c.      Claims or defenses of the representative are typical of the class;

               d.      The representative will fairly and adequately protect the class; and

               e.      A class action is superior to other methods of the adjudication.

       19.     Plaintiff seeks certification of the following FRCP 23 Class:

               Current and former employees of Defendants who performed any
               work for Defendants within the State of New York as a laborer,
               and who: (1) worked in excess of forty hours per week without
               receiving overtime compensation; and/or (2) were not issued pay
               stubs/wage statements on each payday containing the accurate
               information that NYLL § 195(3) requires; and/or (3) were not
               issued a wage notice at hire containing the accurate information
               that NYLL § 195(1) requires (“Rule 23 Plaintiffs”).




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                                           Numerosity

       20.     During the previous six years, Defendants have, in total, employed at least forty

employees that are putative members of this class.

                             Common Questions of Law and/or Fact

       21.     There are questions of law and fact that govern the claims of each and every Rule

23 Plaintiff, including but not limited to the following: the duties that Defendants required and

require each Rule 23 Plaintiff to perform; whether Defendants denied Rule 23 Plaintiffs

compensable time for all hours worked; whether Defendants required and require each Rule 23

Plaintiff to work in excess of forty hours per week; whether Defendants compensated and

compensate the Rule 23 Plaintiffs at the legally-mandated rate of one and one-half times their

respective straight-time rates of pay for all hours worked per week over forty; whether

Defendants furnished and furnish Rule 23 Plaintiffs with accurate wage statements on each

payday or with an accurate wage notice at the time of hire as required by the NYLL; whether

Defendants kept and maintained records with respect to the compensation that they paid to the

Rule 23 Plaintiffs; whether Defendants maintain any affirmative defenses with respect to the

Rule 23 Plaintiffs’ claims; whether Defendants’ actions with respect to the Rule 23 Plaintiffs

were in violation of the NYLL and supporting regulations; and if so, what constitutes the proper

measure of damages.

                              Typicality of Claims and/or Defenses

       22.     As described in the background facts section below, Defendants employed

Plaintiff as a laborer. Plaintiff’s claims are typical of the claims of the Rule 23 Plaintiffs whom

he seeks to represent, as the Rule 23 Plaintiffs work, and/or have worked for Defendants in

excess of forty hours per week without receiving overtime premiums for their hours worked over


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forty. Plaintiff and Rule 23 Plaintiffs enjoy the same statutory rights under the NYLL to be paid

at the rate of one and one-half times their straight-time rates for all hours worked per week in

excess of forty, and to be furnished with accurate wage statements on each payday and an

accurate wage notice at the time of hire. Plaintiff and Rule 23 Plaintiffs have all sustained

similar types of damages as a result of Defendants’ failure to comply with the NYLL and

supporting regulations. Plaintiff and the Rule 23 Plaintiffs have all suffered injury, including

lack of compensation or under-compensation, due to Defendants’ common policies, practices,

and patterns of conduct. Thus, Plaintiff’s claims and/or the Defendants’ defenses to those claims

are typical of the Rule 23 Plaintiffs’ claims and the Defendants’ defenses to those claims.

                                            Adequacy

       23.     Plaintiff, as described below, worked the same or similar hours as the Rule 23

Plaintiffs throughout their employment with Defendants.        Defendants did not pay Plaintiff

overtime premiums for his hours worked over forty each week, which is substantially similar to

how Defendants paid the Rule 23 Plaintiffs. Defendants also failed to provide Plaintiff with

accurate wage statements on each payday or an accurate wage notice at the time of hire, which is

substantially similar to how Defendants treated the Rule 23 Plaintiffs. Plaintiff is no longer

employed with Defendants, and thus has no fear of retribution for his testimony. Plaintiff fully

anticipates testifying under oath and providing discovery responses as to all of the matters raised

in this Complaint and that will be raised in Defendants’ Answer. Thus, Plaintiff would properly

and adequately represent the current and former employees whom Defendants have subjected to

the treatment alleged herein.




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                                               Superiority

         24.   Plaintiff has no, or very few, material facts relating to the Rule 23 Plaintiffs’

claims that are atypical of those of the putative class. Indeed, at all relevant times herein,

Defendants treated Plaintiff identically, or at the very least, substantially similar, to the Rule 23

Plaintiffs.

         25.   Any lawsuit brought by an employee of Defendants would be identical to a suit

brought by any other employee for the same violations. Thus, separate litigation would risk

inconsistent results. Resolving the Rule 23 Plaintiffs’ claims in a single lawsuit will conserve

both the Court’s and the parties’ resources.

         26.   Accordingly, the means of protecting Rule 23 Plaintiffs’ rights in a class action is

superior to any other method, and this action is properly maintainable as a class action under

FRCP 23(b)(3).

         27.   Additionally, Plaintiff’s counsel has substantial experience in this field of law.

                                    BACKGROUND FACTS

         28.   Defendant Alba is a corporation that performs demolition services, asbestos

remediation, and garbage removal for commercial buildings in New York. Defendant Horan is

the corporation’s highest ranking officer who manages and oversees the business on a day-to-day

basis.

         29.   Defendants employed Plaintiff to work as a laborer from in or around June 2014

to December 2016.

         30.   As a laborer, Plaintiff’s main duties consisted of demolishing commercial

buildings, remediating asbestos, and removing garbage and other debris from job sites.




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       31.     Throughout Plaintiff’s employment, Defendants required Plaintiff to work five to

six days per week, starting his workday at 7:00 a.m. and ending anywhere between 3:30 p.m. and

7:00 p.m., without providing him with a scheduled or uninterrupted break during his shift. Thus,

throughout his employment, Defendants required Plaintiff to work, and Plaintiff did routinely

work, between forty-two hours and thirty minutes and seventy-two hours each workweek.

       32.     For example, during the workweek of August 8 through August 14, 2016,

Plaintiff worked the following schedule:

              Monday, August 8, 2016: 7:00 a.m. until 4:00 p.m.

              Tuesday, August 9, 2016: 7:00 a.m. until 4:30 p.m.

              Wednesday, August 10, 2016: 7:00 a.m. until 5:00 p.m.

              Thursday, August 11, 2016: 7:00 a.m. until 4:00 p.m.

              Friday, August 12, 2016: 7:00 a.m. until 4:00 p.m.

Defendants did not permit Plaintiff to take an uninterrupted break on any day. Thus, adding up

the hours for this representative workweek, Plaintiff worked forty-six hours and thirty minutes.

       33.     As a second example, during the workweek of December 5 through December 11,

2016, Plaintiff worked the following schedule:

               Monday, December 5, 2016: 7:00 a.m. until 3:30 p.m.

               Tuesday, December 6, 2016: 7:00 a.m. until 3:30 p.m.

               Wednesday, December 7, 2016: 7:00 a.m. until 3:30 p.m.

               Thursday, December 8, 2016: 7:00 a.m. until 3:30 p.m.

               Friday, December 9, 2016: 9:00 a.m. until 7:00 p.m.

Defendants did not permit Plaintiff to take an uninterrupted break on any day. Thus, adding up

the hours for this representative workweek, Plaintiff worked forty-four hours.



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         34.   From June 2014 through in or around October 2016, Defendants paid Plaintiff

$12.50 for every hour worked each week.

         35.   From in or around November through December 2016, Defendants paid Plaintiff

$15.00 for every hour worked each week.

         36.   Thus, throughout his employment, Defendants did not pay Plaintiff at the rate of

time and one-half his regular hourly rate for any hours that he worked per week in excess of

forty.

         37.   Defendants paid Plaintiff on a weekly basis.

         38.   On each occasion when Defendants paid Plaintiff, Defendants failed to provide

Plaintiff with a wage statement that accurately listed, inter alia, Plaintiff’s overtime rates of pay

and/or the number of hours that he worked per week. Indeed, Defendants paid Plaintiff at his

straight-time rate for his hours worked over forty in cash, and did not reflect those hours on

Plaintiff’s paystubs.

         39.   Additionally, Defendants did not provide Plaintiff with a wage notice at the time

of his hire that accurately contained, inter alia, Plaintiff’s rates of pay as designated by the

employer. Defendants treated Plaintiff, FLSA Plaintiffs, and Rule 23 Plaintiffs in the same

manner described herein.

         40.   Defendants acted in this manner to maximize their profits and minimize their

labor costs and overhead.

         41.   Each hour that Plaintiff, FLSA Plaintiffs, and Rule 23 Plaintiffs worked was for

Defendants’ benefit.




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                   FIRST CLAIM FOR RELIEF AGAINST DEFENDANTS
                          Unpaid Overtime in Violation of the FLSA

        42.     Plaintiff and FLSA Plaintiffs repeat, reiterate, and re-allege each and every

allegation set forth above with the same force and effect as if fully set forth herein.

        43.     29 U.S.C. § 207(a) requires employers to compensate their employees at a rate of

not less than one and one-half times their regular rates of pay for all hours worked exceeding

forty in a workweek.

        44.     As described above, Defendants are employers within the meaning of the FLSA,

while Plaintiff and FLSA Plaintiffs are employees within the meaning of the FLSA.

        45.     As also described above, Plaintiff and FLSA Plaintiffs worked in excess of forty

hours per week, yet Defendants failed to compensate Plaintiff and FLSA Plaintiffs in accordance

with the FLSA’s overtime provisions.

        46.     Defendants willfully violated the FLSA.

        47.     Plaintiff and FLSA Plaintiffs are entitled to overtime pay for all hours worked per

week in excess of forty at the rate of one and one-half times their respective regular rates of pay.

        48.     Plaintiff and FLSA Plaintiffs are also entitled to liquidated damages, attorneys’

fees, and costs and disbursements in this action for Defendants’ violation of the FLSA’s

overtime provisions.

                 SECOND CLAIM FOR RELIEF AGAINST DEFENDANTS
                    Unpaid Overtime in Violation of the NYLL and NYCCRR

        49.     Plaintiff, any FLSA Plaintiff who opts-in to this action, and Rule 23 Plaintiffs

repeat, reiterate, and re-allege each and every allegation set forth above with the same force and

effect as if more fully set forth herein.




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        50.     NYLL § 160 and 12 NYCCRR § 142-2.2 require employers to compensate their

employees at a rate not less than one and one-half times their regular rates of pay for all hours

worked exceeding forty in a workweek.

        51.     As described above, Defendants are employers within the meaning of the NYLL

and the NYCCRR, while Plaintiff, any FLSA Plaintiff who opts-in to this action, and Rule 23

Plaintiffs are employees within the meaning of the NYLL and the NYCCRR.

        52.     Plaintiff, any FLSA Plaintiff who opts-in to this action, and Rule 23 Plaintiffs

worked in excess of forty hours in a workweek, yet Defendants failed to compensate them in

accordance with the NYLL’s and the NYCCRR’s overtime provisions.

        53.     Plaintiff, any FLSA Plaintiff who opts-in to this action, and Rule 23 Plaintiffs are

entitled to overtime pay for all hours worked per week in excess of forty at the rate of one and

one-half times their regular rates of pay.

        54.     Plaintiff, any FLSA Plaintiff who opts-in to this action, and Rule 23 Plaintiffs are

also entitled to liquidated damages, interest, attorneys’ fees, and costs and disbursements in this

action for Defendants’ violation of the NYLL’s and NYCCRR’s overtime provisions.

                  THIRD CLAIM FOR RELIEF AGAINST DEFENDANTS
               Failure to Furnish Proper Wage Statements in Violation of the NYLL

        55.     Plaintiff, any FLSA Plaintiff who opts-in to this action, and Rule 23 Plaintiffs

repeat, reiterate, and re-allege each and every allegation set forth above with the same force and

effect as if more fully set forth herein.

        56.     NYLL § 195(3) requires that employers furnish employees with wage statements

containing accurate, specifically enumerated criteria on each occasion when the employer pays

wages to the employee.




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        57.     As described above, Defendants failed to furnish Plaintiff, any FLSA Plaintiff

who opts-in to this action, and Rule 23 Plaintiffs with accurate wage statements on each payday

containing the criteria required by the NYLL.

        58.     Prior to February 27, 2015, pursuant to NYLL § 198(1-d), Defendants are liable

to Plaintiff, any FLSA Plaintiff who opts-in to this action, and Rule 23 Plaintiffs in the amount of

$100 for each workweek after the violation occurred, up to a statutory cap of $2,500.

        59.     On or after February 27, 2015, pursuant to NYLL § 198(1-d), Defendants are

liable to Plaintiff, any FLSA Plaintiff who opts-in to this action, and Rule 23 Plaintiffs in the

amount of $250 for each workday after the violation occurred, up to a statutory cap of $5,000.

                FOURTH CLAIM FOR RELIEF AGAINST DEFENDANTS
                Failure to Furnish Proper Wage Notices in Violation of the NYLL

        60.     Plaintiff, any FLSA Plaintiff who opts-in to this action, and Rule 23 Plaintiffs

repeat, reiterate, and re-allege each and every allegation set forth above with the same force and

effect as if more fully set forth herein.

        61.     NYLL § 195(1) requires that employers provide employees with wage notices

containing accurate, specifically enumerated criteria within ten business days from the time of

hire.

        62.     As described above, Defendants failed to furnish Plaintiff, any FLSA Plaintiff

who opts-in to this action, and Rule 23 Plaintiffs with accurate wage notices at hire containing

the criteria required under the NYLL.

        63.     Prior to February 27, 2015, pursuant to NYLL § 198(1-b), Defendants are liable

to Plaintiff, any FLSA Plaintiff who opts-in to this action, and Rule 23 Plaintiffs in the amount of

$50 for each workweek after the violation initially occurred, up to a statutory cap of $2,500.



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        64.     On or after February 27, 2015, pursuant to NYLL § 198(1-b), Defendants are

liable to Plaintiff, any FLSA Plaintiff who opts-in to this action, and Rule 23 Plaintiffs in the

amount of $50 for each workday after the violations initially occurred, up to a statutory cap of

$5,000.

                                  DEMAND FOR A JURY TRIAL

        65.     Pursuant to FRCP 38(b), Plaintiff, FLSA Plaintiffs, and Rule 23 Plaintiffs demand

a trial by jury in this action.

                                         PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, FLSA Plaintiffs, and Rule 23 Plaintiffs demand judgment

against Defendants as follows:

        a.      A judgment declaring that the practices complained of herein are unlawful and in

willful violation of the aforementioned United States and New York State laws;

        b.      Preliminary and permanent injunctions against Defendants and their officers,

owners, agents, successors, employees, representatives, and any and all persons acting in concert

with them, from engaging in each of the unlawful practices, policies, customs, and usages set

forth herein;

        c.      An order restraining Defendants from any retaliation against Plaintiff and/or any

FLSA Plaintiffs and/or Rule 23 Plaintiffs for participation in any form in this litigation;

        d.      Designation of this action as an FLSA collective action on behalf of Plaintiffs and

FLSA Plaintiffs and prompt issuance of notice pursuant to 29 U.S.C. § 216(b) to the FLSA

Plaintiffs, apprising them of the pendency of this action, permitting them to assert timely FLSA

claims in this action by filing individual Consents to Sue pursuant to 29 U.S.C. § 216(b), and

tolling of the statute of limitations;



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       e.       Certification of the claims brought in this case under the NYLL as a class action

pursuant to FRCP 23;

       f.       All damages that Plaintiff, FLSA Plaintiffs, and Rule 23 Plaintiffs have sustained

as a result of Defendants’ conduct, including all unpaid wages and any short fall between wages

paid and those due under the law that Plaintiff, FLSA Plaintiffs, and Rule 23 Plaintiffs would

have received but for Defendants’ unlawful payment practices;

       g.       Liquidated damages and any other statutory penalties as recoverable under the

FLSA and the NYLL and as consistent with law;

       h.       Awarding Plaintiff, FLSA Plaintiffs, and Rule 23 Plaintiffs their costs and

disbursements incurred in connection with this action, including reasonable attorneys’ fees,

expert witness fees and other costs, and an award of a service payment to Plaintiff;

       i.       Designation of Plaintiff and his counsel as collective/class action representatives

under the FLSA and FRCP;

       j.       Pre-judgment and post-judgment interest, as provided by law; and




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       k.      Granting Plaintiff, FLSA Plaintiffs, and Rule 23 Plaintiffs other and further relief

as this Court finds necessary and proper.

Dated: Great Neck, New York
       May 24, 2017

                                             Respectfully submitted,

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                                             __________________________________
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